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The document below is hereby signed.

Signed: August 7, 2020




                                     ___________________________
                                     S. Martin Teel, Jr.
                                     United States Bankruptcy Judge




                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLUMBIA

     In re                                  )
                                            )
     PIERRE PHILIPPE BARKATS,               )     Case No. 14-00053
                                            )     (Chapter 7)
                     Debtor.                )
     ____________________________           )
                                            )
     WENDELL W. WEBSTER, TRUSTEE,           )
                                            )
                         Plaintiff,         )
                                            )
                  v.                        )     Adversary Proceeding No.
                                            )     18-10021
     RONDI WALKER, M.D., et al.,            )
                                            )     Not for publication in
                         Defendants.        )     West’s Bankruptcy Reporter.

      MEMORANDUM DECISION AND ORDER REGARDING DISTRIBUTIONS OF SALE
      PROCEEDS AND GIVING PARTIES 14 DAYS TO RAISE ANY FURTHER ISSUES

          I assume the reader’s familiarity with the court’s prior

     decisions in this proceeding.          Pursuant to the hearing of August

     5, 2020, the parties were in agreement that no further issues

     needed to be adjudicated.          This Memorandum Decision and Order

     points out an error in one of the court’s prior decisions which
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 may have led parties to think that they did not need to identify

 any possible issues in order to protect their interests.

 Accordingly, I am giving the parties 14 days to identify any

 further issues that need to be addressed.

                                         I

                DIVISION OF OWNERSHIP OF THE PROCEEDS

      The Marital Settlement Agreement provided for Dr. Walker to

 receive the payoff amounts of certain loans (that the court has

 fixed as standing at $654,141.81 in the aggregate).              If a full

 price sale at $4,125,000 were achieved, the remaining proceeds

 were to be divided via a payment directly to Dr. Walker (which

 was projected to be $2,000,000), a payment to her of $400,000 to

 establish a Trust for Children, with the balance (after paying

 two HELOC liens) to go to Barkats.           Paragraph 4 of the Marital

 Settlement Agreement provided for adjustment of Dr. Walker’s

 $2,000,000 share, the Trust for Children’s $400,000 share,1 and

 Barkats’ share of $557,000 by the percentage difference between

 the full listing price less costs of sale and the actual selling

 price less costs of sale.         The actual selling price of $2,850,000

 less $220,574.61 of costs of sale equaled $2,629,425.39 or

 69.1954% of $3,800,000 (a full listing price less projected costs


      1
         The Marital Settlement Agreement called for the
 establishment of the Trust for Children. That trust was formed
 on June 4, 2020, pursuant to a trust agreement titled The Barkats
 Walker Children’s Trust. I will refer to the trust as the Trust
 for Children.

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 of sale).   That results in reducing Dr. Walker’s $2,000,000 share

 to $1,383,908.00; the Trust for Children’s share to $276,781.60;

 and Barkats’ share to $385,418.38 (before application of Barkats’

 share to the payment of the two HELOC liens).

      Barkats’ share was to be treated as being used to pay the

 two HELOC liens that stood at $487,186.91 when Webster paid them,

 and that exceeds Barkats’ $385,418.38 share and will wipe out

 Barkats’ receiving anything.         That results in a shortfall balance

 of $172,592.93 of the two HELOC liens ($487,186.91 - $385,418.38

 = $172,592.93) after treating the two HELOC liens as paid first

 from Barkats’ $385,418.38 share.

      As I previously ruled, if there was a shortfall, Dr.

 Walker’s starting share of $1,383,908.00 and the Trust for

 Children’s starting share of $276,781.60 are to be treated as

 paying the shortfall: Dr. Walker still retains the right to

 receive the payoff amounts of loans standing at $654,141.81

 without any reduction (because the Marital Settlement Agreement

 contemplated that the loans would be paid in full).              The

 shortfall of $172,592.93 must be borne proportionately by Dr.

 Walker and the Trust for Children, reducing their starting




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 shares, respectively, by $143,827.44 and $28,765.49.2

      Accordingly, the proceeds (before taking into account liens

 against Dr. Rondi Walker’s interest in the proceeds) should be

 allocated as follows:

            (1) Dr. Walker is entitled to receive a first share of

      $654,141.81 as the payoff amount of certain loans, an amount

      that was to be paid in full, with no adjustment based on the

      reduced sale price of $2,850,000.00 (versus the

      $4,125,000.00 full sale price contemplated by the Marital

      Settlement Agreement) or based on the two HELOC liens

      (because other shares are responsible first for paying the

      two HELOC liens, and suffice to do so).

            (2) Dr. Walker’s second share of $1,383,908.00 of the

      proceeds must be reduced by:

                    (a) $179,305.95 of real estate taxes that she

            should have paid incident to occupying the Property and

            that, instead, Webster paid from the proceeds of the


      2
         Dr. Walker’s starting share of $1,383,908.00 plus the
 Trust for Children’s starting share of $276,781.60 equals
 $1,660,689.60. Dr. Walker’s starting share of $1,383,908.00 is
 83.333333% of that total of $1,660,689.60. The Trust for
 Children’s starting share of $276,781.60 is 16.666667% of the
 total of $1,660,689.60. Consequently:

      •     Dr. Walker’s share is responsible for 83.333333% of the
            shortfall of $172,592.93, which equals $143,827.44.

      •     The Trust for Children’s share is responsible for
            16.666667% of the shortfall of $172,592.93, which
            equals $28,765.49.

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            sale;3 and

                    (b) $143,827.44 as her share that would have been

            necessary at the closing table to satisfy the

            $172,592.93 shortfall in paying the two HELOC liens

            (after applying Barkats’ share towards paying the two

            HELOC liens).

      This reduces this second share of Dr. Walker to

      $1,060,774.61.      She is thus entitled to receive in the

      aggregate $1,714,916.42 (the sum of $1,060,774.61 plus

      $654,141.81).

            (3) The Children’s Trust’s share of the proceeds of

      $276,781.60 must be reduced by $28,765.49 as its share that

      would have been necessary at the closing table to satisfy

      the $172,592.93 shortfall in paying the two HELOC liens

      (after applying Barkats’ share towards paying the two HELOC

      liens).   That reduces the Children’s Trust share of the

      proceeds to $248,016.11.

            (4) Barkats was entitled to receive $385,418.38 share

      but that has been applied to payment of the two HELOC liens,


      3
         Barkats was responsible for paying the real estate taxes
 for 2012, but Dr. Walker was responsible for paying real estate
 taxes for later years. She has not asserted that 2012 taxes were
 still owed when the sale closed. Accordingly, she would have
 been required at the closing table of the sale to pay from her
 share of the proceeds the $179,305.95 of real estate taxes for
 years after 2012. Put another way, she is required to replenish
 the pot of proceeds for the $179,305.95 of real estate taxes that
 Webster paid.

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      and Barkats is thus not entitled to recover any of the

      remaining proceeds.         Accordingly, none of the remaining

      proceeds are property of Barkats’ bankruptcy estate.

      Webster, as trustee of Barkats’ estate, is not entitled to

      recover any of the proceeds.

            (5) By reason of 11 U.S.C. § 363(j), Webster shall not

      be entitled to seek recovery of any compensation of himself

      as trustee from the proceeds of the sale being awarded to

      Dr. Walker and the Trust for Children.

                                         II

                CORRECTION OF CHART IN PRIOR DECISION

      The Memorandum Decision and Order Regarding Dr. Walker’s

 Motion to Reconsider of June 9, 2020 (Dkt. No. 233)4 at 22-23,

 included this final conclusion (which is the basis for the

 analysis in part I, above):

      If the gross proceeds flowing to Barkats, after reduction
      of the $2,629,425.39 (sale proceeds net of closing costs)
      for:

            •       Dr. Walker’s share of $1,383,908.00 less real
                    estate taxes (and accruals thereon owed for
                    years after 2012);

            •       loans   to     Dr.    Walker    in   the   amount      of


      4
          That Memorandum Decision and Order was titled in full:

      Memorandum Decision and Order Regarding Dr. Walker’s
      Motion to Reconsider, Directing District of Columbia to
      Provide Details Regarding Real Estate Taxes Paid upon the
      Sale of the Real Property at Issue, and Setting Deadline
      for Parties to File Certain Responses.

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                    $654,141.81; and

             •      the Trust for Children’s share of $276,781.60

       are insufficient to pay in full:

             • any real estate taxes for 2012 (and any accruals
             thereon) still owed at the time of closing; and

             • the $487,186.91 owed on the two HELOC liens,

       then the shortfall shall be paid proportionately out of:

             • Dr. Walker’s share of $1,383,908.00; and

             • the Trust for Children’s share of $276,781.60.

 However, in a chart in the same decision (id. at 21), I

 erroneously indicated that the result of Webster’s sale of the

 Property would be:
   Net proceeds of sale upon gross price of $2,850,000
   less costs of sale (real estate commission, taxes, etc.)           $2,629,425.39

   Dr. Walker shall receive a pro rata share equal to
   $1,383,908.00 reduced for $179,305.95 in real estate
   taxes she incurred = $1,204,602.05
                                                                 - $1,204,602.05
   Plus funds to pay off recent loans she has taken
   for living expenses and Alek’s college costs                  -      $654,141.81

   Plus funds to establish a Trust for Children                  -      $276,781.60

   Gross Balance to Mr. Barkats                                         $493,899.88

   Less, Payoff HELOC liens                                       -    $487,186.91
   Net amount to Mr. Barkats                                             $6,712.97

 That the chart could not be correct has become apparent on

 further reflection because the distributions to Walker and the

 Trust for Children under the chart would have totaled

 $2,135,525.46 (the sum of $1,204,602.05 + $654,141.81 +

 $276,781.60).      The trustee only held proceeds after the sale of


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 $1,962,932.53 which would not have sufficed to even pay Walker

 and the Trust for Children their distributions called for by the

 chart.    Obviously $6,712.97 of proceeds would not have been

 available to pay to Barkats.

       The chart would have been correct had it shown:

   Net proceeds of sale upon gross price of $2,850,000 less
   costs of sale (real estate commission, taxes, etc.)           $2,629,425.39

   Less payoff of real estate taxes                              - $179,305.95
   Less payoff two HELOC Liens                                    -$487,186.91
   Net Available to Distribute                                   $1,962,932.53

   Dr. Walker shall receive a pro rata share equal to
   $1,383,908.00 but she is required to “replenish the pot”
   for the real estate taxes of $179,305.95, resulting in
   her receiving $1,204,602.05 (before sharing in paying
   any shortfall of Mr. Barkats’ share to pay the two
   HELOC liens for which he was responsible)                   - $1,204,602.05

   Plus funds to pay off recent loans she has taken
   for living expenses and Alek’s college costs                   - $654,141.81

   Plus funds to establish a Trust for Children
   (before sharing in paying any shortfall of Mr.
   Barkats’ share to pay the two HELOC liens
   for which he was responsible)                                 -      $276,781.60

   Gross Balance to Mr. Barkats                                         $314,593.98


   Less, Payoff HELOC liens                                       -     $487,186.91
   Shortfall in paying HELOC Liens                                    - $172,592.93

 As noted already, the $172,592.93 shortfall would have to be

 charged, on a pro rata basis, to Dr. Walker’s and the Trust for

 Children’s respective starting pro rata shares under the Marital

 Settlement Agreement of $1,383,908.00 and $276,781.60,

 respectively.      This results in:

       •     Dr. Walker’s proceeds of $1,204,602.05 (her starting

             pro rata share of $1,383,908.00 less the real estate



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            taxes of for which she was responsible) being further

            reduced by $143,827.44 to $1,060,774.61; and

      •     the Trust for Children’s starting pro rata share of

            $276,781.60 being further reduced by $28,765.49 to

            $248,016.11.

 Dr. Walker will thus receive $1,060,774.61 directly and

 $654,141.81 for loans, a total of $1,714,916.42, from which liens

 against that share must be paid.

      Barkats is entitled to receive nothing.             The hearing of

 August 5, 2020, was held to identify any additional issues that

 needed resolution in the proceeding.           Some parties may have

 failed to identify any additional issues needing resolution in

 the proceeding because the parties were relying on the erroneous

 projection in the flawed chart that Barkats was entitled to a

 $6,712.97 share.     To the extent that reliance on my flawed

 prediction led any party to not identify at the hearing of August

 5, 2020, any additional issues needing resolution in the

 proceeding, the party is free to identify them now.

                                       III

                     PRIORITY AND AMOUNT OF LIENS
                ON DR. WALKER’S SHARES OF THE PROCEEDS

      Webster has already paid the first three liens on Dr.

 Walker’s $1,714,916.42 share of the proceeds: $885,122.41 to




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 Democracy Capital5 and $372,626.03 to the United States (for two

 Federal tax liens).     This reduces Dr. Walker’s remaining share to

 $457,167.98.   Webster is holding a total of $705,184.09,

 consisting of the $457,167.98 remainder of Dr. Walker’s share and

 the $248,016.00 share of the Trust for Children.

      There remain unpaid liens on Dr. Walker’s remaining

 $457,167.98 share of the proceeds.        Those liens have the

 following order of priority and are owed the following amounts

 based on payoff statements or other information noted in the

 footnotes:

      Democracy Capital (per Dkt. No. 288)
      for further attorney’s fees                               $7,380.80
      Democracy Capital                                           $440.006
      Atlantic Union (per Dkt. No. 286)                       $234,268.597
      Atlantic Union                                              $425.008
      IRS 3d Q 2014 employment taxes                           $21,291.449

      5
         Democracy Capital is still entitled to recover further
 attorney’s fees in protecting its rights as a lienor in this
 adversary proceeding and in any appeal.
      6
         At the hearing of August 5, 2020, it was agreed that
 Democracy Capital is entitled to recover an additional hour of
 attorney time for Mr. Metz’s services (billed at $440.00 per hour
 per time entries previously submitted in litigating the earlier
 attorney’s fees Democracy Capital sought).
      7
          Plus $36.23 interest per day after August 5, 2020.
      8
         At the hearing of August 5, 2020, it was agreed that
 Atlantic Union is entitled to recover an additional hour of
 attorney time for Mr. Laughlin’s services, who in another case
 billed at $425 per hour: see In re BG Healthcare Services, Inc.,
 Case No. 19-11320-BFK (Bankr. E.D. Va.) at Dkt. No. 51, p. 5
 (July 25, 2019). The record here does not show any increase
 since July 2019 in his billing rate.
      9
          Plus $1.75 interest per day after July 6, 2020.

                                      10
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      District of Columbia (income taxes)                     $119,430.7610
      Candela Corporation                                     $117,333.5211
      IRS 1040 2014                                            $21,640.8512
      IRS 1040 2015                                            $37,259.5013
      IRS 1040 2016                                            $11,072.4514
      Direct Capital                                           $65,268.5415
      IRS 1040 2017                                             $3,770.4116
      IRS 1st Q 2014 employment taxes                          $13,858.1317
      IRS 2d Q 2014 employment taxes                           $14,766.6918
      IRS 4th Q 2014 employment taxes                          $15,443.5419
      IRS 1st Q 2017 employment taxes                              $73.5820

 The consequence is that Candela Corporation will receive a


      10
         See Dkt. No. 197 at p. 2 (filed May 6, 2020). The
 District of Columbia has not filed an updated payoff statement
 showing accruals after May 6, 2020, and did not provide a per
 diem figure. The court is giving the District of Columbia until
 August 21, 2020, to file an updated payoff statement.
      11
         Plus interest of $8.36 per day after July 17, 2020.              See
 Dkt. No. 277.
      12
           Plus interest of $1.78 per day after July 6, 2020.
      13
           Plus interest of $3.06 per day after July 6, 2020.
      14
           Plus interest of $0.91 per day after July 6, 2020.
      15
         Plus interest of $8.31 per day after August 14, 2020.
 See Dkt. No. 276-1. This payoff statement is dated July 14,
 2020, but indicates that the payoff statement figure of
 $65,268.54 is good through August 14, 2020. However, it then
 calculates interest as of “July 14, 2020,” which may be a mistake
 if “August 14, 2020,” instead, was the date to which interest was
 calculated. However, the sale proceeds will not suffice to pay
 Direct Capital any amount.
      16
           Plus interest after July 6, 2020, at $0.31 per day.
      17
           Plus interest after July 6, 2020, at $1.14 per day.
      18
           Plus interest after July 6, 2020, at $1.21 per day.
      19
           Plus interest after July 6, 2020, at $1.27 per day.
      20
           Plus interest after July 6, 2020, at $0.01 per day.


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 payment of only a portion of its claim, and the liens junior to

 Candela Corporation’s judgment lien will receive no payment.

      Based on the flawed chart discussed in part II, above,21 I

 previously predicted in the Memorandum Decision and Order

 Regarding Liens Against Rondi Walker’s Share of the Sale Proceeds

 of June 9, 2020 (Dkt. No. 235) at 2-3 that Dr. Walker would

 recover $1,204,602.05 directly and $654,141.81 for paying off

 loans she had incurred, for a total of $1,858,743.86, with the

 result that Candela Corporation’s judgment lien would be paid in

 full and some of the liens junior to Candela Corporation’s

 judgment lien (including Direct Capital’s lien) would likely

 receive payments.     In fact, Dr. Walker will receive only

 $1,060,774.61 directly and $654,141.81 for loans, for a total of

 $1,714,916.42, with the result that Candela Corporation’s

 judgment lien will not be paid in full and liens junior to

 Candela Corporation’s judgment lien will not receive any payment.

 To the extent that reliance on my flawed prediction led Candela

 Corporation or any of the holders of those junior liens or Dr.

 Walker to not identify at the hearing of August 5, 2020, any

 additional issues needing resolution in the proceeding, they are

 free to identify them now.




      21
         The chart appears in the Memorandum Decision and Order
 Regarding Dr. Walker’s Motion to Reconsider of June 9, 2020 (Dkt.
 No. 233) at 21.

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                                                                                                                     IV

                                                                                                            DRAFT OF JUDGMENT

                               I attach hereto, but do not sign for issuance, a draft

 Judgment.                                                         I am delaying issuing the Judgment to give parties the

 opportunity to raise any further issues that they believe warrant

 not issuing the Judgment as currently drafted.

                                                                                                                     V

                                                                                                                CONCLUSION

                               It is

                               ORDERED that within 14 days after entry of this Memorandum

 Decision and Order, the parties may notify the court of any

 further issues they believe warrant the court’s not issuing a

 Judgment as currently contemplated.

                                                                                                                               [Signed and dated above.]

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 Trustee.




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                     UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF COLUMBIA

 In re                               )
                                     )
 PIERRE PHILIPPE BARKATS,            )     Case No. 14-00053
                                     )     (Chapter 7)
                 Debtor.             )
 ____________________________        )
                                     )
 WENDELL W. WEBSTER, TRUSTEE,        )
                                     )
                    Plaintiff,       )
                                     )
              v.                     )     Adversary Proceeding No.
                                     )     18-10021
 RONDI WALKER, M.D., et al.,         )
                                     )
                    Defendants.      )

                             JUDGMENT
     [Draft Judgment Not Being Signed and Issued at this Time]

      Pursuant to a Memorandum Decision and Order re Distribution

 of Proceeds, it is

      ORDERED that ownership of the sale proceeds at issue is

 allocated in the following shares (prior to taking enforcing

 liens on the respective shares):
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            (1) Rondi Walker, M.D. is entitled to two shares, one

      for $654,141.81 (representing payoff amounts of certain

      loans she had taken out) and one for $1,060,774.61, for an

      aggregate of $1,714,916.42.

            (2) The Barkats Walker Children’s Trust, referred to

      also as the Trust for Children, is entitled to a share in

      the amount of $248,016.11.

            (3) Pierre Phillipe Barkats is not entitled to receive

      any share of the proceeds (other than his $385,418.38 share

      already applied towards satisfaction of two HELOC liens),

      and Wendell W. Webster, as trustee of Barkats’ bankruptcy

      estate is not entitled to receive any of the remaining sale

      proceeds.

            (4) Wendell W. Webster shall not be entitled to seek

      recovery of any compensation of himself as trustee of

      Barkats’ bankruptcy estate.

 It is further

      ORDERED that from Rondi D. Walker’s remaining $457,167.98

 share of the proceeds (the amount remaining after distributions

 on certain liens as previously authorized) the following liens

 shall be paid in the following order and the following amounts,

 including any additional interest accruals as indicated by the

 accompanying footnotes:

      Democracy Capital (per Dkt. No. 288)
           for further attorney’s fees                           $7,380.80
      Democracy Capital for fees for
          hearing of 08/05/2020                                    $440.00
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      Atlantic Union (per Dkt. No. 286)                       $234,268.591
      Atlantic Union for fees for
          hearing of 08/05/2020                                   $425.00
      IRS 3d Q 2014 employment taxes                           $21,291.442
      District of Columbia (income taxes)                     $119,430.763
      Candela Corporation                                     $117,333.524
      IRS 1040 2014                                            $21,640.855
      IRS 1040 2015                                            $37,259.506
      IRS 1040 2016                                            $11,072.457
      Direct Capital                                           $65,268.548
      IRS 1040 2017                                             $3,770.419
      IRS 1st Q 2014 employment taxes                          $13,858.1310
      IRS 2d Q 2014 employment taxes                           $14,766.6911
      IRS 4th Q 2014 employment taxes                          $15,443.5412
      IRS 1st Q 2017 employment taxes                              $73.5813

 It is further

      ORDERED that this Judgment is stayed for 14 days after its

 entry and pending disposition of any motion for a stay filed



      1
           Plus $36.23 interest per day after August 5, 2020.
      2
           Plus $1.75 interest per day after July 6, 2020.
      3
         Plus additional amounts reflected by any updated payoff
 statement filed by August 21, 2020.
      4
           Plus interest of $8.36 per day after July 17, 2020.
      5
           Plus interest of $1.78 per day after July 6, 2020.
      6
           Plus interest of $3.06 per day after July 6, 2020.
      7
           Plus interest of $0.91 per day after July 6, 2020.
      8
           Plus interest of $8.31 per day after August 14, 2020.
      9
           Plus interest after July 6, 2020, at $0.31 per day.
      10
           Plus interest after July 6, 2020, at $1.14 per day.
      11
           Plus interest after July 6, 2020, at $1.21 per day.
      12
           Plus interest after July 6, 2020, at $1.27 per day.
      13
           Plus interest after July 6, 2020, at $0.01 per day
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 within that 14 days.

                                                                                                  [Not being signed at this time.]

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 Trustee.




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